|In the Interest of J.E., a Child|(      |From the County Court at Law No.|
|                                |       |3                               |
|                                |       |  Of Lubbock County             |
|                                |       |                                |
|No. 07-12-00449-CV              |(      |February 5, 2013                |
|                                |       |                                |
|                                |(      |Opinion by Justice Campbell     |
|                                |       |                                |


                                  JUDGMENT


      Pursuant to the opinion of the Court,  it  is  ordered,  adjudged  and
decreed that the judgment of the trial court be affirmed.
      Inasmuch as this is an appeal  in  forma  pauperis,  no  costs  beyond
those that have been paid are adjudged.
      It is further ordered  that  this  decision  be  certified  below  for
observance.
                                    o O o

